         Case 16-32939 Document 165 Filed in TXSB on 02/14/20 Page 1 of 4




                           UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

In re:                                                      Case No. 16-32939-H4
         Eddie James Laverne, Jr
         Jacklyne Jenett Jessie
                    Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

       David G. Peake, chapter 13 trustee, submits the following Final Report and Account of
the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as
follows:

         1) The case was filed on 06/07/2016.

         2) The plan was confirmed on 08/23/2016.

       3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
04/03/2017, 03/05/2018, 03/04/2019.

       4) The trustee filed action to remedy default by the debtor in performance under the plan
on 11/09/2017, 12/06/2018, 09/06/2019.

         5) The case was dismissed on 11/04/2019.

         6) Number of months from filing or conversion to last payment: 41.

         7) Number of months case was pending: 44.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $48,306.37.

         10) Amount of unsecured claims discharged without full payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




UST Form 101-13-FR-S (09/01/2009)
       Case 16-32939 Document 165 Filed in TXSB on 02/14/20 Page 2 of 4




Receipts:

       Total paid by or on behalf of the debtor              $57,058.72
       Less amount refunded to debtor                         $3,393.38

NET RECEIPTS:                                                                                   $53,665.34


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                                 $7,313.00
    Court Costs                                                               $0.00
    Trustee Expenses & Compensation                                       $2,650.75
    Other                                                                     $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                 $9,963.75

Attorney fees paid and disclosed by debtor:                  $137.00


Scheduled Creditors:
Creditor                                       Claim         Claim            Claim       Principal       Int.
Name                                 Class   Scheduled      Asserted         Allowed        Paid         Paid
ARS/ACCOUNT RESOLUTION SPECIA    Unsecured         105.00           NA              NA            0.00        0.00
BAYVIEW LOAN SERVICING           Secured              NA         325.00          325.00           0.00        0.00
CAPIO PARTNERS, LLC              Unsecured         200.00           NA              NA            0.00        0.00
CENTERPOINT ENERGY               Unsecured          62.00           NA              NA            0.00        0.00
CITIBANK NA AS TRUSTEE FOR CML   Secured              NA     80,034.76        19,575.49     19,575.49         0.00
CITIBANK NA AS TRUSTEE FOR CML   Secured              NA       9,542.74        9,542.74      9,542.74         0.00
CITIBANK NA AS TRUSTEE FOR CML   Secured              NA           0.00            0.00      8,104.77         0.00
FRIENDLY LOANS                   Unsecured         166.00           NA              NA            0.00        0.00
INTERNAL REVENUE SERVICE***      Unsecured            NA       5,270.48        5,270.48           0.00        0.00
NCO FIN/09                       Unsecured         658.00           NA              NA            0.00        0.00
ON-GOING MORTGAGE                Secured              NA            NA              NA            0.00        0.00
OVATION SERVICES LLC             Secured              NA     27,821.93        27,821.93           0.00   6,478.59
OVATION SERVICES LLC             Secured              NA         250.00          250.00           0.00        0.00
SPEEDY/RAPID CASH                Unsecured         500.00        871.71          871.71           0.00        0.00
WORTH FINANCE                    Unsecured      1,046.00            NA              NA            0.00        0.00




UST Form 101-13-FR-S (09/01/2009)
        Case 16-32939 Document 165 Filed in TXSB on 02/14/20 Page 3 of 4




Summary of Disbursements to Creditors:
                                                              Claim           Principal           Interest
                                                            Allowed               Paid               Paid
Secured Payments:
      Mortgage Ongoing                                   $29,118.23         $37,223.00             $0.00
      Mortgage Arrearage                                      $0.00              $0.00             $0.00
      Debt Secured by Vehicle                                 $0.00              $0.00             $0.00
      All Other Secured                                  $28,396.93              $0.00         $6,478.59
TOTAL SECURED:                                           $57,515.16         $37,223.00         $6,478.59

Priority Unsecured Payments:
       Domestic Support Arrearage                              $0.00               $0.00            $0.00
       Domestic Support Ongoing                                $0.00               $0.00            $0.00
       All Other Priority                                      $0.00               $0.00            $0.00
TOTAL PRIORITY:                                                $0.00               $0.00            $0.00

GENERAL UNSECURED PAYMENTS:                               $6,142.19                $0.00            $0.00


Disbursements:

         Expenses of Administration                             $9,963.75
         Disbursements to Creditors                            $43,701.59

TOTAL DISBURSEMENTS :                                                                      $53,665.34


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 02/14/2020                             By:/s/ David G. Peake
                                                                         Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




UST Form 101-13-FR-S (09/01/2009)
        Case 16-32939 Document 165 Filed in TXSB on 02/14/20 Page 4 of 4




                                 CERTIFICATE OF SERVICE

    This is to certify that a true and correct copy of the foregoing Trustee's Final Report has been
served electronically on all parties requesting electronic notice and has been served on the listed
parties (if listed) by mailing a copy of same to the address listed below via first class mail
February 14, 2020.


                                                 /s/ David G. Peake
                                                 David G. Peake
                                                 Chapter 13 Trustee


Eddie James Laverne, Jr
Jacklyne Jenett Jessie
14722 Oak Pine Dr
Houston, TX 77040

KEELING LAW FIRM
KENNETH A. KEELING ATTORNEY
3310 KATY FREEWAY STE 200
HOUSTON, TX 77007

OFFICE OF THE US TRUSTEE
515 RUSK AVE.
STE 3516
HOUSTON, TX 77002




UST Form 101-13-FR-S (09/01/2009)
